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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Stephanie M. Rose
Criminal No. 4:21-cr-00070-001                            : Clerk’s Court Minutes – Sentencing
_______________________________________________________________________________________________________________________________________

UNITED STATES OF AMERICA VS. NICOLE POOLE FRANKLIN
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Richard W. Westphal                         :   Indictment       Superseding Indictment ✔ Information
Def. Atty(s): Joseph D. Herrold                           : In 2 Count(s) – Code Violation:
Court Reporter: Kelli Mulcahy                             : HATE CRIME - INCLUDING KIDNAP OR ATTEMPT TO KIDNAP, SEXUALLY
Interpreter: N/A                                          : ASSAULT, OR KILL 18:249(a)(1)(B)(ii) Hate Crime Act (1-2)
___________________________________________________________

Date: August 19, 2021                                     :
Time Start: 11:02 am Time End: 11:37 am                   :
_______________________________________________________________________________________________________________________________________

✔ Defendant reaffirmed guilty plea to Count(s) 1 and 2.                            : ✔ Court adopted findings of Final PSR
    Jury           Court guilty verdict to Count(s)                                :   Final PSR as amended
_______________________________________________________________________________________________________________________________________

Minutes:
Defendant present with counsel for sentencing. Defendant satisfied with counsel. Defendant advised of
maximum penalties and informed of PSR. Parties discuss PSR. Total Offense Level = 39; Criminal History
Category = IV; Guideline Imprisonment Range = 360 months to life. Parties argue appropriate sentence.
Defendant allocutes. Court pronounces sentence. Defendant is advised of appeal rights.




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Sentence Imposed:
Defendant is sentenced to the custody of the BOP for a term of 304 months as to each of Counts One and Two,
to be served concurrently with each other and concurrently with the sentence imposed in the Iowa District
Court for Polk County Docket Number FECR334319. A 5 year term of supervised release to follow as to each
of Counts One and Two, to be served concurrently. Court recommends placement in a facility closest to Iowa.
$200 Special Assessment ($100 per count).

Defendant is remanded to the custody of the United States Marshal.



                                                                                          /s./ K. Chrismer
                                                                                          ________________________
                                                                                          Deputy Clerk
